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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF MARYLAND
                                              (Baltimore Division)

             In re
                                                                      Case No. 25-10308 (DER)
             Diamond Comic Distributors, Inc., et al.,
                                                                      Chapter 11
                                                1
                                      Debtors.
                                                                      (Jointly Administered)

                                                                      Re: D.I. 531

                               STIPULATION TO EXTEND OBJECTION DEADLINE

                     The above-captioned debtors and debtors in possession (the “Debtors”) and the Official

         Committee of Unsecured Creditors (the “Committee”), by and through their undersigned counsel,

         hereby stipulate that the Committee’s deadline to object to the Debtors’ Motion for Entry of an

         Order Approving (I) Procedures for Sale or Other Disposition of Consigned Inventory, (II)

         Approving Sales or Other Disposition of Consigned Inventory Free and Clear of Liens, Claims,

         Interests or Encumbrances and (III) Granting Related Relief [D.I. 531] is extended to July 18,

         2025.

                                         [Remainder of Page Left Intentionally Blank]




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               The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
               numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
               (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
               Road, Suite 300, Hunt Valley, Maryland 21030.
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         Dated: July 15, 2025

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